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                        UNITED STATES DIStfu
                           DISTRICT olionepsirL4N;
                                                              1. 50
UNITED STATES OF AMERICA,
ex rel. JEFFREY BROOKS,                         A'    RELENBEI f
                                          BY                    CastiNo.:
                                                           DEPUTY'
     Plaintiff,

V.

CITY LIGHT AND POWER, INC.,                                    Jury Trial Demanded

                                                                Filed Under Seal
                                                               ,31 U.S.C. §3730(b)(2)

     Defendants


                                   COMPLAINT
           Claims Pursuant to the False Claims Act, 31 USC sec. 3729, et seq.

                     [FILED IN CAMERA AND UNDER SEAL]




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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,
a rel. JEFFREY BROOKS,
                                                                     Case No.:


       Plaintiffs;

V.

CITY LIGHT AND POWER, INC.,                                          Jury Trial Demanded

                                                                     Filed Under Seal
                                                                     31 U.S.C. § 3730(b)(2)
                  Defendant.



                                      COMPLAINT
              Claims Pursuant to the False Claims Act, 31 USC sec. 3729, et seq.



                                      SUMMARY INTRODUCTION

       1.         The United States of America, by and through qui tam originating Relator, Jeffrey

Brooks ("Relator" or "Brooks"), hereby brings this action pursuant to the False Claims Act

("FCA"), as amended, 31 U.S.C. § 3729 et seq., by and through his attorneys, Brian H. Mahany

and the Law Firm of MAHANY LAW and David P. Weber and Richard J. Link of GOODWIN
              •
WEBER PLLC, and hereby declares the following to recover all damages, penalties, and other

remedies available as established by the FCA that were caused by Defendant's creation of false

and deceptive records, billings, statements, reports and omission of facts relied upon by the United

States Government in the awarding of numerous governmental contracts and issuing payments to

Defendant upon the same.




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        2.      As set forth in detail below, City Light and Power, Inc. ("CLP") bid upon and

 ultimately was awarded numerous governmental contracts for the supply and maintenance of

 electrical distribution and infrastructure services and supplies to U.S. military installations.

 Pursuant to various provisions of the Federal Acquisition Regulation, Defense Federal Acquisition

•Regulation and the Homeland Security Acquisition Regulation, CLP was commanded to undertake

certain security measures to safeguard information systems operated and/or maintained pursuant

to government contracts, the governmental information received from governmental entities

maintained on or transiting thorough such information systems and to timely report to government

officials breaches of these required security measures. Nevertheless, CLP has knowingly, willfully

and repeatedly failed or otherwise refused to undertake these required security and reporting

requirements while continuing to create and submit claims to the United States for payment and

approval, and upon which the United States has and continues to make payment.

                                          THE PARTIES

        3.      Plaintiff is the United States of America.

        4.      Relator is a citizen of the State of Colorado and former Systems Administrator and

Junior Database Administrator for CLP via contract with Robert Half Technology from March 30

of 2016 through August 12 of 2016. In that position, Brooks' duties included, among other things,

the examination of software and information systems for the discovery of system security updates

necessary to avoid cyber intrusion into information systems operated and maintained pursuant to

contracts with the United States. It was during his employment with CLP that Brooks became the

original source of the information contained herein and witnessed the conduct, actions and

inactions alleged in this Complaint.




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        5.      City Light and Power, Inc. ("CLP"), upon information and belief, is a citizen

Corporation of the State of Nevada, organized and existing under the laws of the State of Nevada

with corporate offices located in both California at 2961 Rodondo Avenue in Long Beach,

California, 90806 and in Colorado at 6312 South Fiddlers Green Circle, Suite 200E,

Greenwood Village, CO 80111. The registered agent for service of process for City

light and Power, Inc. in Nevada is Resident Agents of Nevada, Inc., located at 711

South Carson Street, Suite 4, in Carson City, Nevada 89701. Upon further information and belief,

CLP has conducted, and continues to carry on business activities throughout the United States,

including upon military installations located in the States of Maryland, California and Utah.

                                 JURISDICTION AND VENUE

        6.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and 31 U.S.C. § 3732, the latter of which specifically confers jurisdiction on this

Court for actions brought pursuant to 31 U.S.C. §§ 3729 and 3730. Plaintiff-Relator establishes

subject matter jurisdiction under 31 U.S.C. § 3730(b).

        7.      This Court has personal jurisdiction over the Defendant as a citizen domiciled in

this jurisdiction and this is a proper venue pursuant to 28 U.S.C. § 1391(b) and 31 U.S.C. § 3732(a).

Moreover, the Defendant has and continues to conduct business throughout the United States,

including this jurisdiction.

                                   FEDERAL FALSE CLAIMS ACT

        8.      The False Claims Act, 31 U.S.C. §§ 3729-3733, provides, inter cilia, that any person

who: (1) knowingly presents, or causes to be presented, a false or fraudulent claim for payment or

approval, or (2) knowingly makes, uses, or causes to be made or used, a false record or statement




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material to a false or fraudulent claim, is liable to the United States for a civil monetary penalty

plus treble damages. 31 U.S.C. § 3729(a)(1)(A)-(B).

        9.      The statute also provides liability for anyone that conspires to violate a provision

(A)-(G) of the False Claims Act. 31 U.S.C. §3729(a)(1)(C).

        10.     The False Claims Act defines the term "claim" to mean "any request or demand,

whether under a contract or otherwise, for money or property and whether or not the United States

has title to the money or property, that: (i) is presented to an officer, employee, or agent of the

United States; or (ii) is made to a contractor, grantee, or other recipient, if the money or property

is to be drawn down or used on the Government's behalf or to advance a Government program or

interest, and if the United States Government: (i) provides or has provided any portion of the

money or property requested or demanded; or (ii) will reimburse such contractor, grantee, or other

recipient for any portion of the money or property which is requested or demanded...." 31 U.S.C.

§ 3729(b)(2)(A) (2009).

        11.     The terms "knowing" and "knowingly" are defined to mean "that a person, with

respect to information: (1) has actual knowledge of the information; (2) acts in deliberate ignorance

of the truth or falsity of the information; or (3) acts in reckless disregard of the truth or falsity of

the information." 31 U.S.C. § 3729(b)(1)(A)(i)-(iii). Proof of specific intent to defraud is not

required. 31 U.S.C. § 3729(b)(1)(B).

       12.      As utilized within the False Claims Act, "the term 'material' means having a natural

tendency to influence, or capable of influencing, the payment or receipt of money or property." 31

U.S.C. § 3729(b)(4).

        13.     Private citizens are encouraged to bring actions on behalf of the government

pursuant to 31 U.S.C. § 3730(b)(1), which states, "[a] person may bring a civil action for a violation



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of section 3729 for the person and for the United States Government. The action shall be brought

in the name of the Government." 31 U.S.C. § 3730(b)(1).

       14.     Pursuant to 31 U.S.C. § 3730(e), there has been no statutory relevant public

disclosure of the allegations or transactions referenced in this Complaint to which Plaintiff-Relator

Brooks is not the "original source," and all material information relevant to this Complaint is being

provided to the United States Government in accord with 31 U.S.C. § 3730(e)(4)(B).

       15.     The United States, through Relator, herein alleges that CLP has violated and

continues to violate the foregoing provisions of the FCA by seeking payment for the installation

and monitoring of electrical infrastructure equipment, information systems and security measures

in accordance with the requirements of its contracts with the Department of Defense ("DOD"), the

Defense Logistics Agency ("DLA"), the Department of the Air Force ("DOAF") and the

Department of the Army ("DOA"), when CLP knew the contractually required security

maintenance, analysis and software updates were not occurring and had not occurred for

significant periods of time, and that CLP failed comply with mandatory reporting periods relating

to cyber security intrusions of the same. Due to CLP's fraudulent conduct, the DOD, DLA, DOAF

and DOA accepted and paid for the installation and maintenance of electrical and information

system security they would not otherwise have accepted or paid for had they known the truth of

CLP's actions and inactions.

                      GOVERNMENT CONTRACTING AUTHORITY
                AND CONTROLLING REGULATIONS FOR ELECTRIC POWER
                                 DISTRIBUTION

       16.     Per the Congressional Research Center in 2011, the federal government purchases

roughly 57 million megawatt-hours of electricity annually, making it the single largest U.S. energy




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consumer.' The Department of Defense (DOD) alone consumes over 29 million megawatt-hours.

Id

        17.    Various statutes and regulations authorize federal agencies to enter into contracts

with entities such as CLP for utility services and designate the General Services Administration

("GSA") as the lead federal contracting agency. Utility services include electricity, natural gas,

water, sewerage, thermal energy, chilled water, hot water, and steam.

        18.    The GSA has delegated certain authority to DoD to enter into utility service

contracts on behalf of the military departments, and delegated similar authority to other federal

agencies. See FAR 41.103. The Secretary of a military department can enter into contracts for the

conveyance of utility services to private companies like CLP for up to 50 years if it is determined

to be cost, effective. See 10 U.S.0 § 2688. The Defense Logistics Agency ("DLA") acts as
                                                                                      fr the

executive agent for purchasing fuel and electricity for DoD.

       19.     Federal agencies may acquire goods and services using multiyear contracts under

the authority of the Federal Property and Administrative Services Act of 1949 (Section 304B), as

codified in 41 U.S.C. § 254(c). The DoD has similar authority to acquire property using multi-year

contracts under 10 U.S.C. § 2306(b). General military laws governing the Armed Forces

acquisition process fall under 10 U.S.C. Chapter 137—Procurement.

       20.     The term "acquisition" means the process of using appropriated funds to contract

for the purchase or lease of property or services that support the missions and goals of an executive

agency, as defined in 41 U.S.C. § 403 (Public Contracts). The general "procurement" process




I Congressional Research Center Report, August 15, 2011, Federal Agency Authority to Contract
for Electric Power and Renewable Energy Supply found at http://nationalaglawcenter.org/wn-
content/uploads/assets/ers/R41960.pdf


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includes all the steps agencies take in acquiring property or services, beginning with determining

a need for property or services and ending with contract completion and closeout.

       21.     All federal agencies must follow the Federal Acquisition Regulation ("FAR")

system in Title 48 of the Code of Federal Regulations (C.F.R.).2 Individual federal agencies may

also develop their own internal requirements to supplement the FAR System, as have DoD under

the Defense Federal Acquisition Regulation System ("DFAR")3 and the Department of Homeland

Security with the Homeland Security Acquisition Regulations ("HSAR").4

            REGULATIONS REQUIRE SECURING BOTH GOVERNMENT
       CONTRACTOR INFORMATION SYSTEMS AND THE INFORMATION ON OR
                    PASSING THROUGH THOSE SYSTEMS

       A.      FAR Rules Require the Protection of Information Systems by Government
               Contractors.

       22.     In May of 2016, the federal government announced FAR section 4.19 and clause

52.204-21, which set forth standards for the basic safeguarding of contractor information systems

that process, store or transmit federal contract information. These rules finalized proposed

revisions to the FAR first published in 2012 and became effective on June 15, 2016.

       23.     Pursuant to clause 52.204-21, the phrase "Federal contract information" means

information, not intended for public release, that is provided by or generated for the government

under a contract to develop or deliver a product or service to the government (excluding public

information). FAR 52-204.21(a).




2 Title 48 C.F.R.—The Federal Acquisition Regulations System. Also, see P.L. 93-400 Office of
Federal Procurement Policy Act of 1974 as amended by P.L. 96-83 Office of Federal Procurement
Policy Act, http://homepage.mac.com/slotcarbob/buchte169/nowandthen.htmlAmendments of
1979. Federal Acquisition Regulations are available at http://farsite.hill.af.mil/ VFDFARA.HTM.
3 See 48 C.F.R. Parts 201 through 299.
  The HSAR establishes uniform Department of Homeland Security policies and procedures for
all acquisition activities within the Department of Homeland Security. 48 C.F.R. § 3001.301.
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        24.    - The breadth of the "Federal contract information" definition captures contractor

 operational systems. In other words, the regulations apply to virtually all federal contractors and

 their information systems, with the exception of commercial-off-the-shelf products as defined in

•FAR 2.101.

        25.     Pursuant to FAR 52-204.21, as of June 15, 2016, government contractors are

required to, among other things: (1) identify, report and correct information and information

system flaws and intrusions in a timely manner (within 72 hours); (2) provide protection from

 malicious code at appropriate locations within organizational information systems; (3) update

malicious code protection mechanisms when new releases are available; and (4) perform periodic

scans of the information system and real-time scans of files from external sources as files are

downloaded, opened, or executed. See FAR 52-204.21(b)(1)(xii)-(xv).

        26.     The FAR cyber security rules apply to all covered federal contractor information

systems, which are systems that are owned or operated by a contractor and that process, store or

transmit federal contract information. See FAR 52-204.21.

        27.    "Covered contractor information system" means "an information system that is

owned or operated by a contractor that processes, stores, or transmits Federal contract

information." FAR 52.204-21(a).

        28.    "Information" is defined as "any communication or representation of knowledge in

any form, including audiovisual." FAR 52.204-21(a).

        29.    "Information System" is defined as a "discrete set of information resources

organized for the collection, processing, maintenance, use, sharing, dissemination, or disposition

of Information." FAR 52.204-21(a).
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       30.     "Safeguarding" is defined as "measures or controls that are prescribed to protect

information systems." FAR 52.204-21(a).

       31.     The phrases "residing and transiting" information and information "residing on" an

information system refers to information "being processed by or stored on the information

system." 81 Fed. Reg. 30441 (May 16, 2016).

       32.     Information "transiting through" an information system "means simple transport,"

as opposed to requiring that the information actually be stored on an information system. Id.

       33.     In brief, the FAR security measures set forth in 52.204-21 are designed to protect

the information systems themselves that either contain governmental information or through which

governmental information passes - regardless of the content of the information at issue. Cyber

security measures designed to protect the information content located on information systems are

addressed in detail by the DFAR and HSAR.

       B.      The Departments of Defense and Homeland Security Require Contractors to
               Protect the Content of System Information.

       34.     As relates specifically to the protection of governmental information contained on

or passing through a government contractor's information system, this is a more specific issue

addressed by the DoD and DHS with their supplementation of the FAR with the DFAR and HSAR.

See e.g., DFAR 252.204-7008, HSAR 3052.204-70(a).

       35.     In brief, the DFAR, among other things, commands government contractors that

they must take affirmative steps to protect unclassified information which resides upon or passes

through a contractor's electronic data systems in the performance of their contractual duties. More

precisely, DFAR 252.204-7008 commands that "[t]he security requirements required by contract

clause 252.204-7012, Covered Defense Information and Cyber Incident Reporting, shall be




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implemented for all covered defense information on all covered contractor information systems

that support the performance of this contract." (emphasis added).

          36.   Among the security requirements set forth in DFAR 252.204-7012: "Rifle

Contractor shall provide adequate security for all covered defense information on all covered

contractor information systems that support the performance of work under thfel contract."

252.204-7012(b). To assure this is accomplished, the section goes on to state "... the Contractor

shall . . . [i]mplement information systems security protections on all covered contractor information

systems including, at a minimum         covered contractor information systems that are part of an

Information Technology (IT) service or system operated on behalf of the Government." Id. (emphasis

added).

          37.   DFAR 252.204-7012 goes on to provide definitions for classes of information that

must be secured by the contractor. These include: (1) "Controlled technical information;" (2)

"covered contractor information system;" and (3) "covered defense information." Each of these

categories is then further defined by the DFAR under the title, "Safeguarding Covered Defense

Information and Cyber Incident Reporting."

          38.   Pursuant to DFAR 252.204-7012, "[c]ontrolled technical information means

technical information with military or space application that is subject to controls on the access,

use, reproduction, modification, performance, display, release, disclosure, or dissemination . . .

[Ole term does not include information that is lawfully publicly available without restrictions."

          39.   Pursuant to DFAR 252.204-7012, "[c]overed contractor information system means

an information system that is owned, or operated by or for, a contractor and that processes, stores,

or transmits covered defense information."




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        40.    Pursuant to DFAR 252.204-7012, "[c]overed defense information" includes,

among other things, unclassified information that is collected, developed, received, transmitted,

used, or stored by or on behalf of the contractor in support of the performance of the contract, and

falls into any one of four categories: (1) Controlled technical information (defined above); (2)

Critical Information (operations security); (3) Export Control; or (4) any other information marked

Of otherwise identified in the contract that requires safeguarding.

       41.     DFAR 252.204-7012 defines "Critical information (operations security)" as

"Specific facts identified through the Operations Security process about friendly intentions,

capabilities, and activities vitally needed by adversaries for them to plan and act effectively so as

to guarantee failure or unacceptable consequences for friendly mission accomplishment (part of

Operations Security process)."

       42.     DFAR 252.204-7012 defines "Export control" as "[u]nclassified information

concerning certain items, commodities, technology, software, or other information whose export

could reasonably be expected to adversely affect the United States national security and

nonproliferation objectives. To include dual use items; items identified in export administration

regulations, international traffic in arms regulations and munitions list; license applications; and

sensitive nuclear technology information." (emphasis added).

       43.     As relates to the "any other information" category, DFAR 252.204-7012 defines

this as "[ably other information, marked or otherwise identified in the contract, that requires

safeguarding or dissemination controls pursuant to and consistent with law, regulations, and

Government-wide policies (e.g., privacy, proprietary business information)."

       44.     DFAR 252.204-7012 goes beyond simply setting forth that government contractors

must protect unclassified information, however. DFAR 252.204-7012 goes on to declare certain



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actions that must be taken by government contractors in the event that a breach of these security

measures is identified. See DFAR 252.204-7012(c).

       45.     Pursuant to DFAR 252.204-7012(c), entitled "Cyber incident reporting

requirement," when the Contractor discovers a cyber incident that affects a covered contractor

information system or the covered defense information residing therein, or that affects the

contractor's ability to perform the requirements of the contract that are designated as operationally

critical support, the Contractor is required to investigate and report the incident to the DOD within

the 72 hour hours. See DFAR 252.204-7012(c)-(c)(i). (emphasis added).

       46.     Much the same as the DFAR provisions outlined above, the Department of

Homeland Security ("DHS") supplemented the FAR with additional requirements which relate to

those who contract with DHS in the handling of unclassified information as far back as June of

2006. See HSAR 3052.204-70.

       47.     HSAR 3052.204-70(a) states, "Mhe Contractor shall be responsible for Information

Technology (IT) security for all systems connected to a DHS network or operated by the

Contractor for DHS, regardless of location. This clause applies to all or any part of the contract

that includes information technology resources or services for which the Contractor must have

physical or electronic access to sensitive information contained in DHS unclassified systems that

directly support the agency's mission." (emphasis added).

       48.     Collectively, the FAR, DFAR and HSAR command that government contractors

such as CLP take proactive security measures designed to protect not only the information systems

containing governmental information, but to protect governmental information itself and report to

governmental officials within 72 hours when these measures have failed or have otherwise been




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breached. As discussed below, CLP has repeatedly failed or otherwise refused to comply with

these security and reporting requirements in relation to seven of its contracts with the United States.

                     FACTUAL BACKGROUND AND CONDUCT ALLEGED
                                                                                                    L


       A.      CLP's Functions Under Seven Contracts with the United States by Which It
               Receives and Retains Government Information on its Information System.

       49.     CLP began contracting with the United States Government as early as 2010 through

a eries of contracts to provide electrical infrastructure services, including power distribution,

electrical transformers, communications lines and the construction of structures related to these

services upon several military installations located throughout the United States. In all, CLP has

entered into seven separate but interrelated contracts with the United States between October 23,

2010 and November 20, 2015 for which it has billed and continues to bill the United States.

       50.     The first contract at issue is contract number HSBPI010C00102. CLP entered into

this Contract with the Department of Homeland Security ("DHS"), via U.S. Customs Border and

Security, on or about August 23, 2010 to provide electrical power, communications lines and

related structures to the March Air Reserve Base located in the State of California. The actual

contract between CLP and DHS, however, remains in the exclusive possession and control of CLP.

       51. ) Pursuant to the terms and conditions of HSAR, 3052.204-70(a) (effective June,

2006), CLP became responsible for all IT security for their information systems connected to a

DHS network or operated by CLP for DHS as early as early as 2010, regardless of location of these

systems. As a result, CLP was required to have IT security measures in place to protect the

government information contained on every information system operated by CLP which contained

information supplied to CLP by DHS so that CLP could perform upon the contract.

       52.     Upon information and belief, in the performance of its duties under contract

HSBP1010C00102, CLP received and retained from DHS certain governmental information


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relating to the March Air Reserve Base, and became responsible for maintaining the same, which

would place national security at risk were the information systems breached, such as schematics

and/or blueprints relating to the size and physical layout of the military base, the location of

command structures, the location of power distribution centers and the locations of

communications lines.

       53.    The second contract at issue is contract number SP060008R0804. CLP entered into

this contract with Department of the Army ("DOA"), via the Defense Logistics Agency ("DLA"),

on or about November 30, 2011 to provide electric power distribution to the Aberdeen Proving

Grounds located in the State of Maryland. The actual contract between CLP and DOA remains in

the exclusive possession and control of CLP.

       54.    Pursuant the provisions of FAR 52.204-21 and DFAR 252.204-7012, CLP became

contractually obligated to provide adequate security for all covered defense information on CLP's

information systems that supported the provision of electrical power to the Aberdeen Proving

Grounds, or any other information system operated and maintained by CLP in order to supply

electrical power to the Aberdeen Proving Grounds. Moreover, by virtue of CLPs preexisting

contract with DHS in relation to the March Air Reserve base in 2010, CLP was required to already

have in place cyber security and IT protective measures to secure government information

contained on CLP's information systems.

       55.    Upon information and belief, in the performance of its duties under contract

SP06008R0804, CLP received and retained from DOA certain governmental information relating

to the Aberdeen Proving Grounds, and became responsible for maintaining the same, which would

place national security at risk were the information system breached, such as schematics and/or




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blueprints relating to the size and physical layout of the military base, the location of command

structures, the location of power distribution centers and the locations of communications lines.

       56.     The third contract at issue is contract number W9 12LA12P8034. CLP entered this

contract with Department of Defense ("DoD"), via the Department of the Air Force ("DOAF"), on

or about November 24, 2012 to provide electrical transformers, electrical power and

communications lines, as well as the construction of structures related to these, at the March Air

Reserve Base located in the State of California. The actual contract between CLP and DoD remains

in the exclusive possession and control of CLP.

       57.     Pursuant the provisions of FAR 52.204-21 and DFAR 252.204-7012, CLP became

contractually obligated to provide adequate security for all covered defense information on CLP's

information systems that supported the provision of electrical power to the March Air Reserve

Base, or any other information system operated and maintained by CLP in order to supply electrical

power to the March Air Reserve Base. Moreover, by virtue of CLPs preexisting contract with DHS

in relation to the March Air Reserve base in 2010, CLP was required to already have in place cyber

security and IT protective measures to secure government information contained on CLP's

information systems.

       58.     Upon information and belief, in the performance of its duties under contract

W912LA12P8034, CLP received and retained from the DOAF certain governmental information

relating to the March Air Reserve Base, and became responsible for maintaining the same, which

would place national security at risk were the information system breached, such as schematics

and/or blueprints relating to the size and physical layout of the military base, the location of

command structures, the location of power distribution centers and the locations of

communications lines.



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       59.     The fourth contract at issue is contract number SP060009C8270. CLP entered this

contract with the DOAF, via the Defense Logistics Agency ("DLA"), on or about May 19, 2014

to provide electric power distribution to Travis Air Force Base located in the State of California.

The actual contract between CLP and DOAF remains in the exclusive possession and control of

CLP.

       60.     Pursuant the provisions of FAR 52.204-21 and DFAR 252.204-7012, CLP became

contractually obligated to provide adequate security for all covered defense information on CLP's

information systems that supported the provision of electrical power to the Travis Air Force Base,

or any other information system operated and maintained by CLP in order to supply electrical

power to the Travis Air Force Base. Moreover, by virtue of CLPs preexisting contract with DHS

in relation to the March Air Reserve base in 2010, CLP was required to already have in place cyber

security and IT protective measures to secure government information contained on CLP's

information systems.

       61.     Upon information and belief, in the performance of its duties under contract

SP060009C8270, CLP received and retained from DOAF certain governmental information

relating to the Travis Air Force Base, and became responsible for maintaining the same, which

would place national security at risk were the information system breached, such as schematics

and/or blueprints relating to the size and physical layout of the military base, the location of

command structures, the location of power distribution centers and the locations of

communications lines.

       62.     The fifth contract at issue is contract number SP060009C8253. CLP entered this

contract with the DoD, via DOAF, on or about January 21, 2015 to provide electric power




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distribution to the March Air Reserve Base located in the State of California. The actual contract

between CLP and DOAF remains in the exclusive possession and control of CLP.

       63.     Pursuant the provisions of FAR 52.204-21 and DFAR 252.204-7012, CLP became

contractually obligated to provide adequate security for all covered defense information on CLP's

information systems that supported the provision of electrical power to the March Air Reserve

Base, or any other information system operated and maintained by CLP in order to supply electrical

power to the March Air Reserve Base. Moreover, by virtue of CLPs preexisting contract with DI-1S

in relation to the March Air Reserve base in 2010, CLP was required to already have in place cyber

security and IT protective measures to secure government information contained on CLP's

information systems.

       64.     Upon information and belief, in the performance of its duties under contract

SP060009C8253, CLP received and retained from DOAF certain governmental information

relating to the March Air Reserve Base, and became responsible for maintaining the same, which

would place national security at risk were the information system breached, such as schematics

and/or blueprints relating to the size and physical layout of the military base, the location of

command structures, the location of power distribution centers and the locations of

communications lines.

       65.     The sixth contract at issue is contract number SP060011C8275. CLP entered this

contract with DOA, via DLA, on or about October 23, 2015 to provide electric power distribution

to the Aberdeen Proving Grounds located in the State of Maryland. The actual contract between

CLP and DOA remains in the exclusive possession and control of CLP.

       66.     Pursuant the provisions of FAR 52.204-21 and DFAR 252.204-7012, CLP became

contractually obligated to provide adequate security for all covered defense information on CLP's



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information systems that supported the provision of electrical power to the Aberdeen Proving

Grounds or any other information system operated and maintained by CLP in order to supply

electrical power to the Aberdeen Proving Grounds. Moreover, by virtue of CLPs preexisting

contract with DHS in relation to the March Air Reserve base in 2010, CLP was required to already

have in place cyber security and IT protective measures to secure government information

contained on CLP's information systems.

       67.     Upon information and belief, in the performance of its duties under contract

SP060011C8275, CLP received and retained from DOA certain governmental information relating

to the Aberdeen Proving Grounds, and became responsible for maintaining the same, which would

place national security at risk were the information system breached, such as schematics and/or

blueprints relating to the size and physical layout of the military base, the location of command

structures, the location of power distribution centers and the locations of communications lines.

       68.     The seventh contract at issue is contract number SP060014C8291. CLP entered

this contract with DOAF, via DLA, on or about November 20, 2015 to provide electric power

distribution to Hill Air Force Base located in the State of Utah. The actual contract between CLP

and DOAF remains in the exclusive possession and control of CLP.

       69.     Pursuant the provisions of FAR 52.204-21 and DFAR 252.204-7012, CLP became

contractually obligated to provide adequate security for all covered defense information on CLP's

information systems that supported the provision of electrical power to Hill Air Force Base or any

other information system operated and maintained by CLP in order to supply electrical power to

Hill Air Force Base. Moreover, by virtue of CLPs preexisting contract with DHS in relation to the

March Air Reserve base in 2010, CLP was required to already have in place cyber security and IT

protective measures to secure government information contained on CLP's information systems.



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       70.      Upon information and belief, in the performance of its duties under contract

SP060014C8291, CLP received and retained from DOAF certain governmental information

relating to the Hill Air Force Base, and became responsible for maintaining the same, which would

place national security at risk were the information system breached, such as schematics ancUor

blueprints relating to the size and physical layout of the military base, the location of command

structures, the location of power distribution centers and the locations of communications lines.

       B.      CLP's Failures and Refusals to Comply with the FAR, DFAR and HSAR
               Commandments to Preserve the Security of the Information and Information
               Systems Operated on Behalf of the United States.

       71.     As noted above, Relator began working for CLP as a systems administrator in

March of 2016, and continued in that capacity through August 12 of 2016. During those five

months, Brooks' duties included examining hardware and software information systems to

discover and install necessary updates to avoid cyber intrusion and the intrusion of unwanted

software or viruses into the information systems CLP operated and maintained pursuant to the

seven contracts with the United States discussed above.

       72.     As further noted above, because CLP is a government contractor, the FAR, DFAR

and HSAR command CLP to not only take proactive measures to protect the information systems

it operates on behalf of the government, but that CLP act to protect government information

contained on its information systems — including reporting to the government, within 72 hours,

when CLP's efforts had failed or were otherwise compromised.

       73.     Shortly after he began working for CLP, Relator learned that CLP surprisingly

employs no permanent IT professional to monitor CLP's information systems. Rather, CLP

contracts with a third-party company, Timberlan, to provide CLP's IT security services. CLP then

supplements Timberlan's services from time to time with on-site contractors such as Relator.


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         74.   Through the performance of his duties for CLP, however, Relator discovered that

CLP is failing Or otherwise refusing to comply with the commands of the FAR, DFAR and HSAR

in two primary ways. First, CLP is failing to properly maintain, update and secure its information

and information systems operated for the United States or containing information conveyed by the

United States. Second, CLP is failing to notify the government of the breach of its information

systems within 72 hours of a breach event.

         75.   By way of example of CLP's continued and repeated failures, Relator notes that on

or about April 14,2016, he logged into CLP's system security software's (Bitfender) control panel

and discovered that approximately 90% of CLP's employee computers were not being updated at

all. Relator immediately reported this security issue to his supervisor, Brad Weber, in an email of

April 15, 2016, entitled "Computer vulnerability."           Attached hereto as Exhibit 1. By that

correspondence, Relator advised Mr. Weber that numerous CLP computers were not equipped

with anti-virus software- a condition exposing CLP's entire information system to exploitation.

See id
                                                         •


         76.   Mother example of CLP's continued security failures was demonstrated on or

about May 1, 2016 when Relator discovered that it was not just individual computers and computer

systems that were vulnerable, but that CLP's entire host of servers was vulnerable to exploitation

for want of system security and software updates. Again, Relator immediately raised this security

issue with Mr. Weber. Mr. Weber explained that Relator's IT predecessor at CLP had turned off

the automated updates throughout the information system in order to enable himself to manually

select which updates to install, when to install these and whether these updates would be installed

at all. Relator protested, explaining that the missing updates were important to the integrity and

security of the entire information systerri, even critical in many instances.



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        77.    Another example of CLP's repeated information system security failures is

memorialized in an email from Kevin Umphress of May 12,2016 wherein Mr. Umphress advised

all employees of CLP's Denver office of the need to log out of the information system no later

than 4.45 p.m. on that day so that Relator could perform a necessary server update. Attached

hereto as Exhibit 2. This server update was necessitated by Brad Weber's instruction to Relator

to solve those system security issues he discovered.

        78.    CLP's repeated security failures are further exemplified in a series of emails from

mid- May of 2016 through mid- August of 2016. For instance, by correspondence of May 16,

2016, CLP employee Rachel Vonsiebenhoven forwarded Relator an email from a cyber hacker.

Attached hereto as Exhibit 3. This email "spoofed" the email of the President of CLP, Tom

Simmons, inquiring as to whether Ms. Vonsibenhoven was in the office because he wanted her to

process an urgent payment to a new vendor. Id. Tom Simmons later confirmed that he had not

sent the email. In brief, Relator's cyber security concerns had become manifest. It was no longer

only possible that CLP's security failures could result in a breach of its information systems; CLP's

information systems had already been breached to such an extent that he hacker knew the relative

positions of CLP employees and who to target in an effort to receive fraudulent payments. See id.

       79.     On May 17, 2016, in response to the Vonsiebehoven incident, in an email string

entitled "IT Security Violation," Relator tracked down and contacted the hacker's email provider

to advise of the cyber intrusion and hacking concern. Attached hereto as Exhibit 4. In light of his

knowledge of these events, as well as his knowledge that CLP provided various electrical power

services to U.S. military installations and maintained information relating to U.S. Military

installations on it information systems, Relator began to research government regulations relating

to cyber security.



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          80.   On May 28, 2016, in an email string entitled "server updated," Relator specifically

drew his supervisor's attention to the fact that one particular server had never been updated at all.

Attached hereto as Exhibit 5.

          81.   A June 15, 2016 email string forwarded to Relator from Rachel Vonsiebehoven

from Baker, Tilly, Virchow, Krause, UP' entitled "New Cybersecurity Requirements for

Government Contractors," states, lejffective today, a new rule published by the U.S. Department

of Defense (DoD), General Services Administration (GSA), and National Aeronautics and Space

Administration (NASA) will require Federal Government contractors to apply 15 basic

cybersecurity safeguarding requirements and procedures to protect their information systems. The

new rule specifically applies to covered contractor information systems used to process, store, or

transmit federal contract information, and most contractors are expected to be impacted by the

rule." Attached hereto as Exhibit 6.

       82.      On or about June 20, 2016, Relator conducted a weekly meeting with Mr. Weber

to discuss Relator's work load. During that meeting, Relator advised Mr. Weber of the seriousness

of the Vonsibenhoven incident and the security concerns posed to the entire CLP information

system.

       83.      On June 29, 2016, in an email entitled, "phone outage," Relator advised Mr. Weber

that CLP's telephone system, a Shoretel telephone server system, had 195 updates waiting to be

implemented. Attached hereto as Exhibit 7. This reality did not just leave CLP's entire telephone

system vulnerable to exploitation; inasmuch as the vast majority of CLP's computers were

connected to the information system via a telephone port, each such computer was equally




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vulnerable to exploitation. In other words, every component of CLP's information system

connected via a telephone port was vulnerable to exploitation and cyber intrusion.

        84.      On June 29, 2016, CLP appeared to acknowledge the security threat posed by its

previous failures.        More precisely, by an email string of that date entitled,

"Hacking_Spoofing_Phishing," CLP employee Rachel Vonsiebehoven established a cyber

security training class for CLP's accounting department as a result of the cyber security scare

created from the Vonsibenhoven incident. Attached hereto as Exhibit 8.

       85.      On July 5, 2016, in an email string entitled "Questions," Relator was instructed by

Mr. Weber to determine why the Shoretel phone server had not been updated. Attached hereto as

Exhibit 9.

       86.      On or about July 6, 2016, the owner of TimberIan, Eric Bradac, advised Relator

that it was standard procedure for Shortel specific companies to stick with a stable platform once

one had been established. Attached hereto as Exhibit 9. Nevertheless, Relator contacted Shortel

representative Travis Bitzer on that same date and was advised that this was incorrect and the 195

updates needed to be immediately implemented to assure the integrity of the telephone system.

       87.      On July 13, 2016, Relator ordered a free network threat check device from a

company called Computer Discount Warehouse, or CDW. Relator then installed a security

protocol (Spiceworks) onto the information system on July 19, 2016, designed to inventory all

devices attached to CLP's information system, create a network map, monitor suspicious

connection attempts and notify him of possible information system intrusion attempts.

       88.      From July 19, 2016 to August 11, 2016, Relator was notified of twenty separate

information system intrusion alerts that appeared to be increasing in frequency. As a result, Relator

began forwarding notifications to Mr. Weber.



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        89.     On July 21, 2016, Relator forwarded to Mr. Weber a notice of a suspicious

attempted intrusion into CLP's information system. Attached hereto as Exhibit 10. By that notice,

entitled, "Suspicious IP 212.83.174.199 attempted to connect to clpex01 (Central Server). View

Threat Details," Relator advised Mr. Weber that attempted intrusions were occurring and a

conversation was needed to discuss the prevention of cyber-attacks on CLP's information systems.

Id. Mr. Weber merely advised that he did not have time to deal with the issue and that Relator

should do whatever Relator or others determined needed to be done. Id.

       90.     On July 26, 2016, Relator advised CLP President Bill Simmons that CLP

information system computers are not set to automatic updates and that there had been successful

cyber intrusions into CLP's information system. Attached hereto as Exhibit 11.

       91.     On August 2, 2016, Relator installed a system threat scan device to CLP's

information system and initiated the scan. The scan was scheduled to be completed on August 19,

2016 and was intended to examine CLP's entire information system.

       92.     On August 5, 2016, Relator was advised by CLP employee Megan Bleess of a

potential data breach in CLP's Cartopae project and that a third-party employee vendor was

accessing CLP's server in an unmonitored fashion. Relator immediately contacted the site

manager for the project, Barbra Ely, to request information relating to the potential security breach.

Relator received those details via email on August 5, 2016 and immediately discussed the security

breach with Mr. Weber. Attached hereto as Exhibit 13. During that conversation, Relator advised

Mr. Weber that government regulations required, among other things, that the security issue

needed to be reported to the government within 72 hours. See attached Exhibit 12. Upon

information and belief, neither this incident, nor any other event of cyber intrusion, was ever

reported to any of the contracting governmental entities.



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       93.     On August 10, 2016, Relator spoke with Mr. Weber in Mr. Weber's office relating

to the importance of governmental cyber security regulations. Mr. Weber advised Relator that "if

no one is around to catch you jaywalking or speeding 5 mph over the speed limit what's going to

happen?" This conversation was memorialized in correspondence from Relator to Mr. Weber in

an email of August 11, 2016. Attached hereto as Exhibit 14. By that correspondence, Relator

further advised Mr. Weber of the need to conduct an investigation into suspected cyber breaches

into CLP's information system." Id. Weber simply requested that Relator drop the issue. Id.

       94.    An email string dated August 12, 2016, entitled "server issues," demonstrates that

an update service was running on a server which served to "push out updates" to the desktop and

laptop computers on CLP's information system. Attached hereto as Exhibit 15. Part of this "push"

contained system updates that had been waiting to be performed since 2013. This was Brooks'

last day of employment with CLP.

       95.    On or about August 15, 2016, Relator was advised by Megan Bleess that Timberlan

began the process of removing the updates performed by Relator in CLP's information systems

after his departure. Ms. Bleess further advised Relator that Timberlan had removed the network

monitoring protocol that Relator had installed on the information system known as the

"Spiceworks ticketing system."

       96.    Relator's information system security concerns were only bolstered throughout his

time at CLP by discussions with CLP personnel.

       97.    Over the course of his employment with CLP, Relator had repeated conversations

with Megan Bleess, the ARCGIS Administrator of Engineering for CLP, relating to Timberlan's

numerous failures to assure the security of CLP's information system. In one particular instance,




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Ms. Bleess advised Relator of Timberlan's refusal to supply her with something as simple as a

website security certificate- a feature required to assure the security of CLP's information system.

        98.    Relator additionally spoke with Ken Ganskow, the former safety director for CLP,

on or about August 14,2016. During that conversation, Mr. Ganskow advised Relator that he left

the company because CLP attempted to compel Mr. Ganskow to falsify safety numbers that were

to be reported to OSHA.

       99.     On or about August 15, 2016, Relator spoke with Kimberly Herivel, the former

media advisor for CLP. While Relator cannot recall the specifics of that conversation, he was

advised by Ms. Herivel that she was aware that CLP was failing to comply with numerous

information system security regulations and other such regulations.

       100.    Relator also spoke with Anastasia Shippey on or about August 15, 2016, the former

regulations analyst for CLP. Ms. Shippey advised Relator of the existence of an email

conversation with the President of CLP wherein information system security regulations were

discussed but ultimately disregarded by CLP.

       101.    It is from these observations and conversations during his time as an employee with

CLP that Relator discovered that CLP is not complying with the information and information

system security and reporting commands of the FAR, DFAR and HSAR. From these known and

continuing failures, Relator now brings these claims, on behalf of the United States, for past and

continuing violations of the False Claims Act.

                                  FIRST CLAIM FOR RELIEF
              Violations of the False Claims Act - 31 U.S.C. § 3729(a)(1)(A) and (B)

       102.    Relator hereby incorporates by reference each all of the preceding paragraphs of

this Complaint as though fully set forth herein in their entirety.




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       103.    This is a claim for treble damages and penalties under the FCA, 31 U.S.C. § 3729

et seq., as amended.

       104.    By virtue of the acts described above, CLP, through its agents and employees,

knowingly presented or caused to be presented false or fraudulent claims, certifications, records

and/or other materials for payment and/or approval which resulted in countless millions of dollars

of payments of false claims by the United States government to CLP. All such false claims and

acts are in violation of the FCA in general and specifically in violation of 31 U.S.C. §

3729(a)(1)(A), as amended.

       105.    Additionally, by virtue of the acts described above, the Defendants knowingly

made, used or caused to be made or used, false records, certifications and statements material to a

false or fraudulent claim which resulted in millions of dollars of payments of false claims by the

United States Government to CLP. All such false claims and acts are in violation of the FCA in

general and specifically in violation of 31 U.S.C. § 3729(a)(1)(B), as amended.

       106.    The acts described above induced the United States Government to pay or approve

such false or fraudulent claims.

       107.    Every such payment by the United States to CLP for goods, materials and/or

services that were certified and/or represented to be made available to the government in

accordance with the information systems and security provisions of the FAR, DFAR and HSAR,

and the numerous contractual requirements for eligibility and receipt of payment were the product

of a false claim, certification and materially false statements made by CLP.

       108.    Because of its fraudulent conduct, the CLP is and was ineligible for payments

because CLP, with knowledge and design, was not and is not in compliance with the Act,

regulations, FAR, DFAR, HSAR or contractual provisions existing as a prerequisite for payment.



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        109. In reliance on these false representations, certifications and claims, the United

States Government, by and through its intermediaries, paid countless millions of dollars for

products and services that it otherwise would not have purchased from CLP had the government

been aware of CLP's knowing violations of the FCA and the various rules and regulations relating

to the security and maintenance of information and information systems operated and maintained

pursuant to government contracts paid for with federal monies.

       110.    By reason of CLP's acts, the United States has been damaged and continues to be

damaged in substantial amounts to be determined at trial.

       111.    Pursuant to the FCA, CLP is liable to the United States for a civil penalty of not

less than $5,500 and not more than $11,000 for each of the false or fraudulent claims and

certifications made, plus three times the amount of damages which the United States has sustained

because of CLP's actions and inactions.

                               SECOND CLAIM FOR RELIEF
          Violations of the False Claims Act 31 U.S.C. § 3729(a)(1)(C) — Conspiracy

       112.    Relator hereby incorporates by reference each and all of the preceding paragraphs

of this Complaint as though fully set forth herein in their entirety.

       113.    CLP, through its agents and employees, has conspired to win contracts, or

participate in the same as suppliers of materials, goods and services with the United States

Government through a series of fraudulent and false misrepresentations and certifications in

relation to services and practices to be observed and performed, all in violation of the FCA as set

forth above in 31 U.S.C. § 3729(a)(1)(c).

        114.   In furtherance of the conspiracy, the Defendant-conspirators agreed to present false

certifications, records and/or statements to the United States that would have a material effect on




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the United States Government's decision to pay for the contested items and services referenced

herein.

          115.   The Defendant-conspirators intentionally or knowingly made false certifications

and statements to various federal agencies and/or caused others to submit false certifications and

statements to various federal agencies, and failed to report information system cyber intrusions to

the United States, all in order to lead the United States to believe that the information supplied to

CLP, and information systems containing and/or receiving such information, was/were secure

and/or would be secured under circumstances in which CLP had not secured and was not securing

such government information or information systems, all the while seeking and continuing to seek

payment from the United States.

          116.   By reason of CLP's actions and inactions, the United States has been damaged and

continues to be damaged in substantial amounts to be determined at trial.

          117.   Pursuant to the FCA, CLP is liable to the United States for a civil penalty of not

less than $5,500 and not more than $11,000 for each of the false or fraudulent claims and

certifications herein, plus three times the amount of damages which the United States has sustained

because of CLP's actions.

                                             SUMMARY

          118.   As alleged herein and above, CLP bid upon and ultimately was awarded numerous

governmental contracts for the supply and maintenance of electrical distribution and infrastructure

services and supplies to U.S. military installations. Pursuant to various provisions of the Federal

Acquisition Regulation, Defense Federal Acquisition Regulation and the Homeland Security

Acquisition Regulation, CLP was commanded to undertake certain security measures to safeguard

government information received from governmental entities and to timely report to government



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officials breaches of these required security measures. Nevertheless, CLP has knowingly, willfully

and repeatedly failed or otherwise refused to undertake these required security and reporting

requirements while continuing to create and submit claims to the government for payment and

approval, and upon which the government has and continues to make payment. For these actions

and inactions, CLP is now liable.

                                           PRAYER FOR RELIEF


       WHEREFORE, Plaintiff, the United States of America, through Relator Jeffrey Brooks,

hereby requests the Court for entry of judgment against Defendant and the following relief:


       A. That CLP cease and desist from further violations of the False Claims Act, 31 U.S.C. §

           3729 et seq.;


       B. That the Court enter judgment against CLP in an amount equal to three times the amount

           of damages suffered by the United States because of CLP's actions and inactions, plus

           a civil penalty of not less than $5,500 and not more than $11,000 for each false claim

           and certification;


       D. That Relator Brooks be awarded the maximum amount allowed pursuant to section

           3730(d) of the False Claims Act, as, well as the reasonable costs and attorney's fees

           associated with brining this action; and


       G. That the United States and Brooks be granted such further relief as the court deems

           equitable, just and proper.




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                                JURY DEMAND


Pursuant to Rule 38 of the Federal Rules of Civil Procedure, a jury trial is demanded.


       Respectfully submitted on this 9th day of November, 2016.




                                             By:


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                                             DAVID P. WEBER, Bar No. 07225
                                             RICHARD J. LINK, Bar No. 24465
                                             GOODWIN WEBER PLLC
                                             Attorneys for Plaintiff-Relator
                                             Local Counsel
                                             267 Kentlands Blvd., Suite 250
                                             Gaithersburg, MD 20878
                                             (301) 850-3370
                                             (301) 850-3374 FAX
                                             David.Weber@goodwinweberlaw.com


                                                   /s/ Brian H. Mahany
                                             Brian H. Mahany
                                             Mahany Law
                                             Pro Hac Vice Anticipated
                                             8112 West Bluemound Road
                                             Suite 101
                                             Wauwatosa, Wisconsin 53213
                                             Office: (414) 258-2375
                                             Email: brianCi4mahanvlaw.com
                                             Attorney for Plaintiff-Relator




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